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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
(FORT LAUDERDALE DIVISION)
CASE NUMBER: 19-60218-Civ-RAR
ANDREW THOMPSON,
Plaintiff,

Vv.

PORTFOLIO RECOVERY
ASSOCIATES, LLC,

Defendant.
/

 

MEDIATION REPORT

The undersigned Mediator reports to the Court that the above-styled case was
mediated on the date noted herein below. Unless specified noted otherwise, all parties
were present and mediated in good faith. The following results were achieved:

o The Case was settled in its entirety and a verified copy of the parties’ agreement
is attached as part of this report. The attorneys will prepare the necessary papers
to finalize this case.

o The Case was partially settled, and a verified copy of the parties’ agreement is
attached as part of this report. The case was not settled as to:

 

 

 

Oo The Case is adjourned to accomplish goals set at mediation. Plaintiff's counsel is
hereby appointed to coordinate rescheduling for:

 

 

 

 

Oo The Mediator declares an impasse:
Comments:

 

 

 

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